      Case 1:21-cv-11125-LAK                   Document 116            Filed 03/25/25      Page 1 of 3
      Case 1:21-cv-11125-LAK                 Document 115-1            Filed 03/24/25     Page 1 of 3

                                                                             [v~~-SD;Y
UNITED STATES DISTRICT COURT
                                                                             DOCUMENT                 I
SOUTHERN DISTRICT OF NEW YORK                                                ELECTRONICALLY FILED '
                                                                             DOC#:              • /'
------------ ------------------------------ --------------    X
                                                                             DATE FILED: 3 -)5 -~ <:' ;
SECURlTIES AND EXCHANGE
COMMISSION,

                             Plaintiff,

vs.                                                               Case No. I :21 -cv-1 11 25 (LAK)

MEDALLION FINANCIAL CORP.,
ANDREW MURSTEIN,                                                  STIPULATION AND
LAWRENCE MEYERS,                                                  [:PJtOPO~D] ORDER
and ICHABOD'S CRANIUM, INC.,

                             Defendants.

 ------- - ------------------------------------------------   X


         Plaintiff Securities and Exchange Commission ("SEC") and Defendants Medallion

Financial Corp. ("Medallion"), Andrew Murstein, Lawrence Meyers and Ichabod's Cranium, Inc.

(together, "Defendants," and with the SEC, "the Parties"), by and through their respective counsel,

having met and conferred, jointly submit this Stipulation and Proposed Order to extend the time

for the Parties to submit a proposed revised scheduling order, and in support thereof state as

follows:

         WHEREAS, on February 24, 2022, the Court entered a Scheduling Order (ECF No. 33,

"Original Scheduling Order");

         WHEREAS, the Court entered an Order on August 25, 2022, temporarily staying discovery

and providing Defendants thirty (30) days from the date of the Court's decision on Defendants'

Motions to Dismiss to file their respective Answers and directing the Parties to jointly submit a

proposed revised scheduling order to the Court within forty-five (45) days of that decision (Dkt.

ECF No. 91);
     Case 1:21-cv-11125-LAK             Document 116         Filed 03/25/25       Page 2 of 3
     Case 1:21-cv-11125-LAK             Document 115-1       Filed 03/24/25      Page 2 of 3




       WHEREAS, the Court entered a Decision and Order on Defendants' Motions to Dismiss

on September 18, 2024 (ECF No. 105);

       WHEREAS , the Court entered an Order on October 9, 2024, extending Defendants'

deadline to file their respective Answers to the Amended Complaint to November 15, 2024, and

extending the parties ' deadline to file a proposed revised scheduling order to December 6, 2024

(ECF No. l 07);

       WHEREAS, Defendants Medallion and Andrew Murstein filed an Answer to the

Amended Complaint on November 15, 2024 (ECF No. 108);

       WHEREAS, the Court granted the Parties' second request for an extension of the

deadline to file a proposed revised scheduling order until December 6, 2024 (ECF Nos. 11 O); and

       WHEREAS, the Court granted the Parties' third request for an extension of time to

submit a proposed scheduling order to February 25, 2025 (ECF No. 112),

       WHEREAS, the Court granted the Parties' fourth request for an extension of time to

submit a proposed scheduling order to March 28, 2025 (ECF No. 114),

       NOW, THEREFORE, in view of the settlement agreements in principle that have been

reached, the Parties hereby stipulate and agree that: (1) the deadline for the Parties to submit a

revised scheduling order shall be adjourned to allow for the Commission to review the proposed

settlements; and (2) the SEC shall provide a status report by April 25, 2025, if the SEC has not

submitted the proposed consent judgments as to the Medallion Defendants and the Meyers

Defendants to the Court by that date.




                                                  2
    Case 1:21-cv-11125-LAK           Document 116       Filed 03/25/25     Page 3 of 3
     Case 1:21-cv-11125-LAK        Document 115-1        Filed 03/24/25    Page 3 of 3




SO STIPULATED AND AGREED.

U.S. SECURITIES & EXCHANGE                   KING & SPALDING LLP
COMMISSION
/s/ David Stoelting                          /s/ Randy Mastro
By: _ _ _ _ _ _ _ _ __                       By: _ _ _ _ _ _ _ __
David Stoelting                              Randy Mastro
Securities and Exchange Commission           Mark Kirsch
100 Pearl Street                             11 85 Avenue of the Americas
Suite 20-100                                 New York, NY 10036
New York, NY 10004-2616                      212-790-5329
212-336-0174                                 Fax: 212-556-2222
Fax: 212-336-1323                            rmastro@kslaw.com
stoeltingd@ sec.gov                          mkirsch@ kslaw.com

Attorneys for Plaintiff                         Attorneys for Medallion Financial Corp. and
                                                Andrew Murstein




LAW OFFICES OF HILARY B.                        DEBEVOISE & PLIMPTON, LLP
MILLER
/s/ Hilary B. Miller                            Andrew J. Ceresney
By: _ _ _ _ _ __ _ _ _                          Erol Nazim Gulay
Hilary B. Miller                                Debevoise & Plimpton LLP
500 West Putnam Avenue - Suite 400              66 Hudson Boulevard
Greenwich, CT 06830-6096                        New York, NY 1000 I
203-587-7000                                    212-909-6000
Fax: 914-206-3727                               Fax: 212-909-6836
hilary@ miller.net                              aceresney@debevoise.com
                                                egulay@ debevoise.com
Attorney for Lawrence Meyers and
Ichabod's Cranium, Inc.                         Attorneys for Medallion Financial Corp. and
                                                Andrew Murstein




SO ORDERED:



Dated:                                                        \..


                                         The Honorable Lewis A. Kaplan
                                         United States District Court Judge


                                            3
